Case 1:04-cv-01197-.]DT-STA Document 55 Filed 08/08/05 Page 1 of 3 Page|D 24

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IN THE UNITED sTATEs DlsTRICT CoURT 054 `“-.\_
FoR THE WESTERN DISTRICT oF TENNESSEE [/@..6, `\O_C
EASTERN DIVISION n )° 4
MARYLAND CASUALTY Co., ) /1,¢'00;9_5,»5;; 616/w
) 552a/§ f _
Plaintiff, ) "' Og/Qy@/
)
vs. ) No. 04-1197 T/An
)
L & 11 SUPPLY Co., 1NC., et al., )
)
)
Defendants. )

 

ORDER GRANTING JOINT MOTION TO POSTPONE HEARING ON
MOTION TO STRIKE DESIGNATION OF EXPERT

 

Before the Court is the parties’ Joint Motion to Postpone Hearing on Motion to Strike
Designation of Expert filed on August 4, 2005. For good cause shown, the Motion is
GRANTED. The trial date in this matter is set for September 26, 2005. While the Motion states
that the parties’ attempt to mediate will not affect the trial date or Rule 26(a)(3) disclosures,
PlaintifF s disclosures are due on August ll, 2005 and Defendant’s disclosures are due on August
26, 2005_

The Court shall hold a status conference in this matter before United States Magistrate
Judge S. Thomas Anderson on TUESDAY, SEPTEMBER 6, 2005 at 10:30 A.M. in the
Magistrate Judge Courtroom, 4th Floor, United States Courthouse, ll l S. Highland Avenue,

Jackson, Tennessee. The purpose of the status conference will be to see if the parties need to

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with Ru!e 58 and,'or_?Q (a) FHCP on M__

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continue the trial date so the parties can have additional time to mediate this claim.

IT IS SO ORDERED.

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s. THoMAs AND“ERSON
UNITED srA'rEs MAGISTRATE JUDGE

Date: v/`/{é/d(¢“/' OX', ZCUJ/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 1:04-CV-01197 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

